Case 1:04-cv-10981-PBS Document 1707 Filed 03/12/09 Page 1 of 4
Case 1:04-cv-10981-PBS Document 1707 Filed 03/12/09 Page 2 of 4
Case 1:04-cv-10981-PBS Document 1707 Filed 03/12/09 Page 3 of 4
       Case 1:04-cv-10981-PBS Document 1707 Filed 03/12/09 Page 4 of 4




                            CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system has been served
pursuant to Case Management Order #3 on March 12, 2009.


                                              /s/ David B. Chaffin
                                              David B. Chaffin
